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Counsel for Defendants




                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                   PENDLETON DIVISION

 KATHRYN DUNLAP and JAMES
 DUNLAP,

                Plaintiffs,

 v.                                               Civil Action No.2:21-cv-00942-SU

 THOMAS J. VILSACK, in his official
 capacity as U.S. Secretary of Agriculture; and   DEFENDANTS’ STATUS REPORT
 ZACH DUCHENEAUX, in his official
 capacity as Administrator, Farm Services
 Agency,
                Defendants.
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       In accordance with the Court’s September 21, 2021 Order, ECF 42, Defendants

respectfully submit the following status report:

       1.       Plaintiffs in this action challenge Section 1005 of the America Rescue Plan Act of

                2021. Because Plaintiffs are members of a class certified by the Court in the first-

                filed of these challenges, Miller v. Vilsack, Case No. 4:21-cv-595 (N.D. Tex.),

                Defendants moved for—and the Court granted—a stay of this action pending

                resolution of the Miller litigation. ECF 42 at 5.

       2.       The Miller class litigation remains ongoing. The day after this Court issued its stay

                order the Court in Miller entered a scheduling order pursuant to which the parties

                will file cross-motions for summary judgment on March 11, 2022. ECF No. 87 in

                Case No. 4:21-cv-595. That deadline is still in effect.

       3.       Because the Miller case is still pending, and Plaintiffs remain members of the class

                certified in that case, the interests of judicial efficiency weigh in favor of continuing

                the stay.
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DATED: December 20, 2021            Respectfully submitted,

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                                     /s/ Alexander V. Sverdlov         .
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